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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                   Case No.: 9:16-cv-81798-DMM

                                                    x
  TTT Foods Holding Company LLC,                    :
  a Florida limited liability company,              :
                                                    :
         Plaintiff,                                 :
                                                    :
  v.                                                :
                                                    :
  BEATRICE NAMM, an individual,                     :
  JONATHAN NAMM, an individual, and                 :
  DELUXE GOURMET SPECIALTIES LLC, a                 :
  New Jersey limited liability company,             :
                                                    :
         Defendants.                                :
                                                    x

                      MOTION TO STRIKE AFFIRMATIVE DEFENSES AND
                         INCORPORATED MEMORANDUM OF LAW

         Plaintiff, TTT Foods Holding Company LLC (“TTT Foods”), pursuant to Rule 12(f) of

  the Federal Rules of Civil Procedure, requests that the Court strike the affirmative defenses plead

  by Defendants, Beatrice Namm (“Mrs. Namm”), Jonathan Namm (“Mr. Namm”) (together, the

  “Namms”) and Deluxe Gourmet Specialties LLC (“Deluxe”) (collectively, the “Defendants”),

  and in support thereof states as follows:

                                    FACTUAL BACKGROUND

         1.      TTT Foods filed the Amended Complaint on November 2, 2016 (the

  “Complaint”). ECF No. 8.

         2.      TTT Foods has alleged in the Complaint that Mrs. Namm caused Brooklyn’s Best

  LLC (“Brooklyn’s Best”), a company that owes more than $176,001.76 to TTT Foods, to

  fraudulently transfer more than $99,000 to or for the benefit of the Namms for insufficient



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  consideration. TTT Foods has also alleged that Mrs. Namm breached her fiduciary duties, and

  that Deluxe and Mrs. Namm should be held liable for Brooklyn’s Best’s indebtedness to TTT

  Foods under a theory of alter ego and piercing the corporate veil.

         3.      On November 29, 2016, the Defendants filed their Answer and Affirmative

  Defenses (the “Answer”) that assert twenty-five affirmative defenses of which two are bare

  bones conclusory allegations, five are insufficient and invalid as a matter of law, and six are not

  affirmative defenses. See ECF No. 23. These thirteen affirmative defenses (the “Defenses”)

  should be stricken for the reasons set forth below.

                                            ARGUMENT

         4.       “The Court has broad discretion in considering a motion to strike under

  Fed.R.Civ.P. 12(f).” Morrison v. Exec. Aircraft Refinishing, Inc., 434 F. Supp. 2d 1314, 1317–

  18 (S.D. Fla. 2005) (citation omitted). Rule 12(f) of the Federal Rules of Civil Procedure states

  in part that “[t]he court may strike from a pleading an insufficient defense or any redundant,

  immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f).

         5.      “Where the affirmative defenses are no more than bare bones conclusory

  allegations, they must be stricken.” Morrison v. Exec. Aircraft Refinishing, Inc., 434 F. Supp. 2d

  at 1318 (internal quotations omitted). In addition, “a defense will be stricken if it is insufficient

  as a matter of law.” Id. “‘A defense is insufficient as a matter of law if, on the face of the

  pleadings, it is patently frivolous, or if it is clearly invalid as a matter of law.’” Id. (quoting

  Anchor Hocking Corp. v. Jacksonville Elec. Auth., 419 F.Supp. 992, 1000 (M.D.Fla.1976)).

         6.      Further, as this Court has stated, “to constitute an affirmative defense, a defendant

  must allege some additional facts beyond merely pointing out defects or lack of evidence in the

  plaintiff's case.” Falzarano v. Retail Brand All., Inc., No. 07-81069-CIV, 2008 WL 899257, at

  *1 (S.D. Fla. Mar. 31, 2008) (granting plaintiff’s motion to strike an affirmative defense as

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  insufficient because it did “no more than recite the standard for dismissal under Rule

  12(b)(6)[.]”). “By its very definition, ‘[a]n affirmative defense is established only when a

  defendant admits the essential facts of a complaint and sets up other facts in justification or

  avoidance.’” Morrison v. Exec. Aircraft Refinishing, Inc., 434 F. Supp. 2d at 1318 (quoting Will

  v. Richardson–Merrell, Inc., 647 F.Supp. 544, 547 (S.D.Ga.1986). “A defense which points out

  a defect in the plaintiff's prima facie case is not an affirmative defense.” In re Rawson Food

  Serv., Inc., 846 F.2d 1343, 1349 (11th Cir. 1988) (concluding that lack of possession is not an

  affirmative defense to a seller’s reclamation claim because “possession is an integral element of

  a seller's reclamation claim and therefore is a necessary part of the seller's prima facie case[.]”).

          7.       The Court should strike the Twenty-Third and Twenty-Fourth Affirmative

  Defenses because they are bare bones conclusory allegations.                The Twenty-Third Affirmative

  Defense alleges in conclusory fashion that “Plaintiff has unclean hands and should not be granted

  equitable relief.” Answer ¶ 35. Similarly, the Twenty-Fourth Affirmative Defense merely

  alleges that “Plaintiff has failed to do equity and should not be granted equitable relief.” Answer

  ¶ 36.

          8.       The Court should strike the Eighteenth through Twenty-Second Affirmative

  Defenses as insufficient and clearly invalid as a matter of law. The Eighteenth Affirmative

  Defense alleges that Count VII, which seeks to hold Deluxe and Mrs. Namm liable for the debts

  Brooklyn’s Best owes to TTT Foods under a theory of alter ego and piercing the corporate veil,

  is barred because TTT Foods was required to have raised and adjudicated such matter in the state

  court proceeding against Brooklyn’s Best based on a breach of promissory note executed by

  Brooklyn’s Best (the “State Court Proceeding”).1 Answer ¶ 30. TTT Foods brought the State


  1
   A copy of the Amended Agreed Final Summary Judgment is attached to the Complaint as Exhibit B, and the Final
  Judgment Awarding Attorney’s Fees and Costs entered in the State Court Proceeding is attached to the Complaint as
  Exhibit D (together, the “Judgments”).

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  Court Proceeding against Brooklyn’s Best based on a breach of promissory note executed by

  Brooklyn’s Best. Mrs. Namm and Deluxe were not party to the State Court Proceeding, and

  were not debtors under the promissory note. This Defense is not an applicable affirmative

  defense to TTT Foods’ claim of liability against Mrs. Namm and Deluxe based on alter ego and

  piercing the corporate veil, and the Defendants have cited to no authority to support that such

  defense is applicable.

         9.      The Nineteenth Affirmative Defense alleges that as to Count VII, “it is a violation

  of due process” to obligate Mrs. Namm and Deluxe to the Judgments obtained by TTT Foods

  against Brooklyn’s Best in the State Court Proceeding. Answer ¶ 31. Count VII, however, does

  not seek to have the Judgments altered to encompass Mrs. Namm and Deluxe as parties who

  breached the promissory note. Instead, TTT Foods seeks to hold Mrs. Namm and Deluxe liable

  for the debts owed by Brooklyn’s Best to TTT Foods under the doctrine of alter ego and piercing

  the corporate veil. Further, it is undisputed that Mrs. Namm and Deluxe have been afforded due

  process with respect to the alter ego and piercing the corporate veil claims alleged in the

  Complaint. A violation of due process is not an applicable affirmative defense to TTT Foods’

  claim for liability against Mrs. Namm and Deluxe based on alter ego and piercing the corporate

  veil, and the Defendants have cited to no authority to support that such defense is applicable.

         10.     The Twentieth Affirmative Defense alleges that Count VII is barred by the

  doctrine of waiver because TTT Foods failed to raise such claim against Ms. Namm and Deluxe

  in the State Court Proceeding. See Answer ¶ 32. The Defendants fail to provide any additional

  facts to properly support this defense. TTT Foods brought the State Court Proceeding against

  Brooklyn’s Best based on a breach of promissory note executed by Brooklyn’s Best. Mrs.

  Namm and Deluxe were not party to the State Court Proceeding, and were not debtors under the

  promissory note. Waiver is not an applicable affirmative defense to TTT Foods’ claim of

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  liability against Mrs. Namm and Deluxe based on alter ego and piercing the corporate veil, and

  the Defendants have cited to no authority to support that such defense is applicable.

         11.     The Twenty-First Affirmative Defense alleges that Count VII is barred by the

  doctrine of merger of judgment because TTT Foods failed to raise the claim against Mrs. Namm

  and Deluxe in the State Court Proceeding prior to entry of the final judgment. See Answer ¶ 33.

  TTT Foods did not previously bring the cause of action asserted in Count VII against Mrs.

  Namm or Deluxe in the prior state court proceeding. Mrs. Namm and Deluxe were not parties to

  the State Court Proceeding.     Therefore, the cause of action could not be merged into the

  judgment entered in the State Court Proceeding. See Diamond R. Fertilizer Co. v. Lake Packing

  P'ship, 743 So. 2d 547, 548 (Fla. Dist. Ct. App. 1999) ( “The doctrine of merger provides that a

  cause of action upon which an adjudication is predicated merges into the judgment and that,

  consequently, the cause of action's independent existence perishes upon entry of the judgment.”).

  The doctrine of merger is not an applicable affirmative defense to TTT Foods’ claim of liability

  based on alter ego and piercing the corporate veil against Mrs. Namm and Deluxe, and the

  Defendants have cited to no authority to support that such defense is applicable.

         12.     The Twenty-Second Affirmative Defense alleges that Count VII is barred by the

  doctrine against splitting of causes of action because TTT Foods failed to raise such claim

  against Mrs. Namm or Deluxe in the State Court Proceeding. See Answer ¶ 34. The Defendants

  fail to provide facts to properly support this defense.      Mrs. Namm and Deluxe were not

  defendants in the State Court Proceeding. See Robbins v. Gen. Motors De Mexico, S. DE R.L.

  DE CV., 816 F. Supp. 2d 1261, 1264 (M.D. Fla. 2011) (stating that “the Court has not found—

  any Florida decision or federal court decision in Florida which applied the prohibition against

  claim splitting to cases involving different defendants.”). Further, the State Court Proceeding

  involved Brooklyn’s Best’s default under a promissory note. This proceeding involves Mrs.

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  Namm and Deluxe’s wrongful acts, conduct and relationship with respect to Brooklyn’s Best.

  See id. at 1263 (“Stated differently, the rule against splitting causes of action makes it incumbent

  upon plaintiffs to raise all available claims involving the same circumstances in one action.”)

  (internal quotations omitted).    The doctrine against splitting of causes of action is not an

  applicable affirmative defense to TTT Foods’ claim of liability against Mrs. Namm and Deluxe

  based on alter ego and piercing the corporate veil, and the Defendants have cited to no authority

  to support that such defense is applicable.

         13.     The Court should strike the Tenth through Fourteenth, and Seventeenth

  Affirmative Defenses because they are not affirmative defenses, merely point out alleged defect

  in TTT Foods’ prima facie case and are redundant of the Defendants’ denials set forth in the

  Answer.

         14.     In particular, the Tenth through Thirteenth Affirmative Defenses merely allege

  that Counts I through IV fail to state a cause of action under Rule 12(b)(6). See Answer ¶ 22-25.

  They also inaccurately allege that it is “impossible to decipher” against which of the defendants

  the counts are being brought.      Contrary to the Defendants’ assertions, Counts I through IV

  specify that Brooklyn’s Best and Deluxe made fraudulent transfers to and/or for the benefit of

  Mrs. Namm and/or Mr. Namm, and that Mrs. Namm and Mr. Namm should be held liable for the

  amount of the transfers.     In addition, these transfers (the “Transfers”) are defined by the

  Complaint to include transfers from Brooklyn’s Best between April 1, 2015 through May 10,

  2016 totaling at least $99,212.44, which transfers are listed in Exhibit H of the Complaint, and

  transfers from Deluxe since March 27, 2015. See Compl. ¶ 30, 31. Similarly, the Fourteenth

  Affirmative Defense alleges that “Count V fails to state a cause of action for violation of a

  fiduciary duty[,]” and the Seventeenth Affirmative Defense alleges that Count VII “fails to state

  a cause of action for declaratory relief” because “there are no factual allegations of ultimate facts

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  that would render Count VII viable.” Answer ¶¶ 26, 29. These Defenses merely point out

  alleged defects or lack of evidence. They do not admit the essential facts of the Complaint, and

  set up other facts in justification of avoidance.

             WHEREFORE, Plaintiff, TTT Foods requests that this Court enter an Order:

         i.         Granting the Motion;

       ii.          Striking the Twenty-Third and Twenty-Fourth Affirmative Defenses with
                    prejudice because they are bare bones conclusory allegations;

       iii.         Striking the Eighteenth through Twenty-Second Affirmative Defenses with
                    prejudice as insufficient and clearly invalid as a matter of law;

       iv.          Striking the Tenth through Fourteenth, and Seventeenth Affirmative Defenses
                    with prejudice because they are not affirmative defenses and are insufficiently
                    plead; and

        v.          Granting TTT Foods any other additional relief that the Court deems just and
                    appropriate.

                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served by notice
  of electronic filing via CM/ECF to Gus R. Benitez, Esquire, counsel for the Defendants, 1223
  East Concord Street, Orlando, Florida 32803 service@arbenitez.com; Gus@arbenitez.com, and
  to those other parties registered to receive such service on December 5, 2016.

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